Case 8:18-cv-00952-VMC-AEP Document 13 Filed 06/25/18 Page 1 of 5 PageID 44



                                    IN THE UNITED STATES DISTRICT COURT
1                                    FOR THE MIDDLE DISTRICT OF FLORIDA
2
     LEAH HUFF,
3                                                              Case No: 8:18-cv-952-T-26 AEP
                       Plaintiff,
4                                                              ANSWER AND AFFIRMATIVE DEFENSES
            vs.
5

6    BJK CLEANING SERVICES, LLC,
7                      Defendant.
8

9
                                    ANSWER AND AFFIRMATIVE DEFENSES

10          Defendant, BJK Cleaning Services, LLC, by and through its undersigned counsel, hereby

11   submits its Answer and Affirmative Defenses to the Complaint.

12                                                   ANSWER

13          Defendant hereby responds to the following correspondingly numbered paragraphs of the
14
     Complaint.
15
                  1.    Plaintiff has two (2) separate paragraphs in the Complaint numbered as paragraph 1.
16
     both of which are denied. The entity named and sued as the Defendant in the Complaint was not
17
     involved in any of the allegations presented by Plaintiff and is an improper party as previously
18
     indicated to counsel for the Plaintiffs. Furthermore, the summons and service of process are defective.
19
     The caption of the summons names an unknown and unrelated entity, BJK Cleaning Services, Inc.
20
     Defendant reserves all defenses and rights including to challenge service of process, jurisdiction and
21

22   Plaintiff’s standing.

23                2.   Denied.

24                3.   Denied.

25                4. Denied.
26
                                                           1
                                                    Motion to Dismiss
27

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Case 8:18-cv-00952-VMC-AEP Document 13 Filed 06/25/18 Page 2 of 5 PageID 45



           5. Denied.
1
           6. Defendant lacks sufficient knowledge to respond to these allegations.
2

3          7. Denied.

4          8. These allegations are legal statements and do not require a response.

5          9. These allegations are legal statements and do not require a response.

6          10. These allegations are legal statements and do not require a response.
7          11. These allegations are legal statements and do not require a response.
8
           12. These allegations are legal statements and do not require a response.
9
           13. These allegations are legal statements and do not require a response.
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           14. These allegations are legal statements and do not require a response.
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           15. These allegations are legal statements and do not require a response.
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           16. These allegations are legal statements and do not require a response.
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           17. ese allegations are legal statements and do not require a response.
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           18. These allegations are legal statements and do not require a response.
15

16         19. These allegations are legal statements and do not require a response.

17         20. These allegations are legal statements and do not require a response.

18         21. These allegations are legal statements and do not require a response.

19         22. These allegations are legal statements and do not require a response.
20
           23. These allegations are legal statements and do not require a response.
21
           24. Denied.
22
           25. Denied.
23
           26. Denied.
24
           27. Denied.
25

26
                                                     2
                                              Motion to Dismiss
27

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Case 8:18-cv-00952-VMC-AEP Document 13 Filed 06/25/18 Page 3 of 5 PageID 46



           28. Denied.
1
           29. Defendant lacks sufficient knowledge to respond to these allegations.
2

3          30. Denied.

4          31. Denied.

5          32. Denied.

6          33. Defendant lacks sufficient knowledge to respond to these allegations.
7          34. Denied.
8
           35. Denied.
9
           36. Denied.
10
           37. Denied.
11
           38. Denied.
12
           39. Denied.
13
           40. Denied.
14
           41. Denied.
15

16         42. Denied.

17         43. Denied.

18         44. Denied.

19         45. Denied.
20
           46. Denied.
21
           47. Defendant re-alleges its responses to paragraphs 1 through 46 of the Complaint.
22
           48. These allegations are legal statements and do not require a response.
23
           49. These allegations are legal statements and do not require a response.
24
           50. Denied.
25

26
                                                    3
                                             Motion to Dismiss
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Case 8:18-cv-00952-VMC-AEP Document 13 Filed 06/25/18 Page 4 of 5 PageID 47



                51. Denied.
1
                52. Denied.
2

3               53. Denied.

4               54. Denied.

5               55. Denied, including any and all wherefore clauses.

6               56. Defendant re-alleges its responses to paragraphs 1 through 55 of the Complaint.
7               57. Denied.
8
                58. Denied.
9
                59. Denied.
10
                60. Denied. Including any wherefore clauses.
11
                                         AFFIRMATIVE DEFENSES
12
            Defendant asserts the following affirmative defenses to the Complaint.
13
                1.   There is no subject matter jurisdiction over the named Defendant.
14
                2.   Plaintiff cannot state a claim upon which relief can be granted against Defendant for
15

16   numerous reasons including that it did not engage in any of the conduct alleged in the Complaint.

17              3. The Complaint should be dismissed with prejudice for lack of service of process.

18              4. Plaintiff’s claims are barred as a matter of law because they make and contain blatantly

19   false and frivolous claims.
20
                5. Plaintiff lacks standing because she was not charged for the communication and
21
     suffered no actual injury or actual damages by the alleged conduct. To establish standing under Article
22
     III of the United States Constitution, Plaintiff, and the proposed class, must show a concrete and
23
     particularized invasion of a legally protected interest. To the extent Plaintiff and members of the
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                                                          4
                                                   Motion to Dismiss
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Case 8:18-cv-00952-VMC-AEP Document 13 Filed 06/25/18 Page 5 of 5 PageID 48



     proposed class have not paid money, lost title to goods of value, or suffered any other concreted or
1
     particularized harm as a result of the conduct alleged, Plaintiff and members of the proposed class lack
2

3    standing to bring this suit under Article III of the United States Constitution. Plaintiff also cannot

4    state a claim for relief because she has suffered no actual damages.

5

6                                                              DATED this 25th day of June, 2018
7                                                              By: /s/ Carlos Bonilla
                                                               Carlos Bonilla, Esq.
8
                                                               Florida Bar No: 0588717
9
                                                               Attorney for Defendant

10
                                         CERTIFICATE OF SERVICE
11
           The foregoing was served upon counsel for Plaintiff, Andrew Shamis whose address is 14 N.E.
      st
12   1 Ave., Suite 400, Miami, FL 33132, on June 6, 2018 via electronic filing and email to
     Ashamis@shamisgentile.com.
13

14
                                                               /s/ Carlos Bonilla
                                                               Carlos Bonilla, Esq.
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                                                           5
                                                    Motion to Dismiss
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